Case 5:06-cr-50135-SMH-MLH   Document 343   Filed 04/16/07   Page 1 of 5 PageID #:
                                    983
Case 5:06-cr-50135-SMH-MLH   Document 343   Filed 04/16/07   Page 2 of 5 PageID #:
                                    984
Case 5:06-cr-50135-SMH-MLH   Document 343   Filed 04/16/07   Page 3 of 5 PageID #:
                                    985
Case 5:06-cr-50135-SMH-MLH   Document 343   Filed 04/16/07   Page 4 of 5 PageID #:
                                    986
Case 5:06-cr-50135-SMH-MLH   Document 343   Filed 04/16/07   Page 5 of 5 PageID #:
                                    987
